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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:


      Southern
 ____________________                 New York
                      District of _________________
                                        (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                   Check if this is an
                                                                                                                                      amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          04/20

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1.   Debtor’s name                           Branded  Apparel Group LLC
                                              ______________________________________________________________________________________________________




 2.   All other names debtor used            SXS  Group LLC
                                             ______________________________________________________________________________________________________
      in the last 8 years                     ______________________________________________________________________________________________________
                                              ______________________________________________________________________________________________________
      Include any assumed names,
                                              ______________________________________________________________________________________________________
      trade names, and doing business
      as names                                ______________________________________________________________________________________________________




 3.   Debtor’s federal Employer                4 ___
                                              ___         0 5 7 8 5 2 4
                                                  6 – ___ ___ ___ ___ ___ ___ ___
      Identification Number (EIN)



 4.   Debtor’s address                        Principal place of business                                Mailing address, if different from principal place
                                                                                                         of business

                                              141 West 36th Street
                                              ______________________________________________             _______________________________________________
                                              Number       Street                                        Number     Street

                                             10th Floor
                                             ______________________________________________              _______________________________________________
                                                                                                         P.O. Box

                                              New York                    NY      10018
                                              ______________________________________________             _______________________________________________
                                              City                        State    ZIP Code              City                      State      ZIP Code


                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                              New York
                                              ______________________________________________
                                              County                                                     2602 East 37th Street
                                                                                                         _______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________

                                                                                                         Vernon                    CA         90058
                                                                                                         _______________________________________________
                                                                                                         City                        State        ZIP Code




 5.   Debtor’s website (URL)                  ____________________________________________________________________________________________________




Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                               page 1
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Debtor        Branded Apparel Group LLC
              _______________________________________________________                         Case number (if known)_____________________________________
              Name




 6.   Type of debtor                       Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           Partnership (excluding LLP)
                                           Other. Specify: __________________________________________________________________

                                          A. Check one:
 7.   Describe debtor’s business
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                          B. Check all that apply:

                                           Tax-exempt entity (as described in 26 U.S.C. § 501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                           Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                          C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                             http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              4 ___
                                             ___ 2 ___
                                                    4 ___
                                                       3
 8.   Under which chapter of the          Check one:
      Bankruptcy Code is the
      debtor filing?                       Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
      A debtor who is a “small business
      debtor” must check the first sub-                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      box. A debtor as defined in                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      § 1182(1) who elects to proceed                         affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
      under subchapter V of chapter 11                        recent balance sheet, statement of operations, cash-flow statement, and federal
      (whether or not the debtor is a                         income tax return or if any of these documents do not exist, follow the procedure in
      “small business debtor”) must                           11 U.S.C. § 1116(1)(B).
      check the second sub-box.                              The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                              noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                              less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                              Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                              statement of operations, cash-flow statement, and federal income tax return, or if
                                                              any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                              § 1116(1)(B).

                                                             A plan is being filed with this petition.

                                                             Acceptances of the plan were solicited prepetition from one or more classes of
                                                              creditors, in accordance with 11 U.S.C. § 1126(b).

                                                             The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                              Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                              Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                              for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                             The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                              12b-2.
                                           Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
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Debtor          Branded  Apparel Group LLC
                _______________________________________________________                         Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases            No
       filed by or against the debtor
       within the last 8 years?               Yes.    District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                                  District _______________________ When _______________ Case number _________________________
                                                                                             MM / DD / YYYY

 10.   Are any bankruptcy cases               No
       pending or being filed by a
       business partner or an                 Yes.    Debtor _____________________________________________ Relationship _________________________
       affiliate of the debtor?                        District _____________________________________________ When               __________________
       List all cases. If more than 1,                                                                                           MM / DD / YYYY
       attach a separate list.                         Case number, if known ________________________________



 11.   Why is the case filed in this         Check all that apply:
       district?
                                              Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.

                                              A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12.   Does the debtor own or have            No
       possession of any real                 Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                           Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                         It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                          What is the hazard? _____________________________________________________________________

                                                         It needs to be physically secured or protected from the weather.

                                                         It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                          attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                          assets or other options).

                                                         Other _______________________________________________________________________________



                                                      Where is the property?_____________________________________________________________________
                                                                                Number          Street

                                                                                ____________________________________________________________________

                                                                                _______________________________________         _______ ________________
                                                                                City                                            State ZIP Code


                                                      Is the property insured?
                                                         No
                                                         Yes. Insurance agency ____________________________________________________________________

                                                               Contact name     ____________________________________________________________________

                                                               Phone            ________________________________




               Statistical and administrative information




 Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
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Debtor        Branded  Apparel Group LLC
              _______________________________________________________                           Case number (if known)_____________________________________
              Name




 13.   Debtor’s estimation of            Check one:
       available funds                    Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                          1-49                               1,000-5,000                                25,001-50,000
 14.   Estimated number of                50-99                              5,001-10,000                               50,001-100,000
       creditors
                                          100-199                            10,001-25,000                              More than 100,000
                                          200-999

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 15.   Estimated assets                   $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion

                                          $0-$50,000                         $1,000,001-$10 million                     $500,000,001-$1 billion
 16.   Estimated liabilities              $50,001-$100,000                   $10,000,001-$50 million                    $1,000,000,001-$10 billion
                                          $100,001-$500,000                  $50,000,001-$100 million                   $10,000,000,001-$50 billion
                                          $500,001-$1 million                $100,000,001-$500 million                  More than $50 billion


              Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17.   Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
       authorized representative of
                                             petition.
       debtor
                                            I have been authorized to file this petition on behalf of the debtor.

                                            I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                                           10/29/2020
                                             Executed on _________________
                                                         MM / DD / YYYY


                                          /s/ Gary Jacobs
                                             _____________________________________________                Gary Jacobs
                                                                                                          _______________________________________________
                                             Signature of authorized representative of debtor             Printed name

                                                    Member
                                             Title _________________________________________




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4
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Debtor        Branded Apparel Group LLC
              _______________________________________________________                     Case number (if known)_____________________________________
              Name




 18.   Signature of attorney
                                         /s/ Paul H. Aloe
                                            _____________________________________________            Date        10/29/2020
                                                                                                                _________________
                                            Signature of attorney for debtor                                    MM    / DD / YYYY



                                           Paul  H. Aloe
                                           _________________________________________________________________________________________________
                                           Printed name
                                           Kudman    Trachten Aloe Posner LLP
                                           _________________________________________________________________________________________________
                                           Firm name
                                           800  Third Avenue, 11th Floor
                                           _________________________________________________________________________________________________
                                           Number         Street
                                            New York
                                            ____________________________________________________           NY
                                                                                                           ____________ 10022
                                                                                                                        ______________________________
                                           City                                                            State        ZIP Code

                                            (212) 868-1010
                                           ____________________________________                             paul@kudmanlaw.com
                                                                                                           __________________________________________
                                           Contact phone                                                   Email address



                                            1921220
                                           ______________________________________________________  NY
                                                                                                  ____________
                                           Bar number                                             State




 Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 5
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 Fill in this information to identify the case and this filing:


 Debtor Name __________________________________________________________________

 United States Bankruptcy Court for the: ______________________ District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


                                                        Income Statement, Cash Flow Statement, Balance Sheet, Tax Return
              Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                     10/29/2020
        Executed on ______________                          /s/ Gary Jacobs
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                Gary Jacobs
                                                                ________________________________________________________________________
                                                                Printed name

                                                                Member
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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    Fill in this information to identify the case:

    Debtor name Branded Apparel Group LLC

    United States Bankruptcy Court for the:      Southern           District of New York

    Case number (If known):
                                                                              (State)
                                                                                                                                           q Check if this is an
                                                                                                                                                amended filing




 Official Form 204
 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
 Unsecured Claims and Are Not Insiders                                                                                                                       12/15

 A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
 disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
 secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
 largest unsecured claims.


  Name of creditor and complete               Name, telephone number, and   Nature of the claim     Indicate if     Amount of unsecured claim
  mailing address, including zip code         email address of creditor     (for example, trade     claim is        If the claim is fully unsecured, fill in only unsecured
                                              contact                       debts, bank loans,      contingent,     claim amount. If claim is partially secured, fill in
                                                                            professional            unliquidated,   total claim amount and deduction for value of
                                                                            services, and           or disputed     collateral or setoff to calculate unsecured claim.
                                                                            government
                                                                            contracts)
                                                                                                                    Total claim, if     Deduction for      Unsecured
                                                                                                                    partially           value of           claim
                                                                                                                    secured             collateral or
                                                                                                                                        setoff

  MERCHANT FACTORS CORP.
                                                                            Factoring Facility                          $3,455,671.45      $2,250,376.89      $1,205,294.56
1 1441 BROADWAY, 22ND FLOOR
  NEW YORK, NY 10018


  MERCHANT FACTORS CORP.                                                                            Contingent
2 1441 BROADWAY, 22ND FLOOR
  NEW YORK, NY 10018
                                                                            Limited Recourse Loan
                                                                                                    Disputed
                                                                                                                                                              $1,300,000.00




  MERCHANT FACTORS CORP.
3 1441 BROADWAY, 22ND FLOOR
  NEW YORK, NY 10018
                                                                            Term Note                                                                           $950,190.93



  ORIENT INTERNATIONAL HOLDING SHANGHAI
  KNITWEAR IMP. & EXP. CO. LTD.                                             Trade Payable           Disputed                                                    $744,336.69
4 ROOM 306, #2 EAST JINGLING ROAD
  SHANGHAI, CHINA


  SILVER JACHS INC.
5 12 WEST 36TH ST., 11TH FL.
  NEW YORK, NY 10018
                                                                            Trade Payable                                                                       $379,726.23




  JIANGSU SAINTY CORP. LTD.
6 3F, BUILDING B, 21 SOFTWARE AVENUE
  NANJING, CHINA
                                                                            Trade Payable           Disputed                                                    $219,976.90




  SMALL BUSINESS ADMINISTRATION
7 409 3RD STREET, SW.
  WASHINGTON, D.C. 20416
                                                                            EIDL                                                                                $150,000.00



  NINGBO CHINA-BASE LANDHAU FOREIGN
  TRADE CO. LTD.
                                                                            Trade Payable           Disputed                                                    $139,357.36
8 ROOM 2001-2002
  NO. 666 TIANTONG SOUTH ROAD
  YINZHOU DISTRICT, NINGBO, CHINA




 Official Form 204             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                     page 1
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                                                                                                     Case number (if known)
  Debtor          Branded Apparel Group LLC
                  Name




   Name of creditor and complete               Name, telephone number, and         Nature of the claim   Indicate if     Amount of unsecured claim
   mailing address, including zip code         email address of creditor           (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                               contact                             debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                                   professional          unliquidated,   total claim amount and deduction for value of
                                                                                   services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                                   government
                                                                                   contracts)
                                                                                                                         Total claim, if    Deduction for       Unsecured
                                                                                                                         partially          value of            claim
                                                                                                                         secured            collateral or
                                                                                                                                            setoff

  BLR KNITS PVT LTD.
  7TH MILE, HOSUR ROAD
9 NEAR KADLU GATE                                                                  Trade Payable                                                                     $115,550.50
  BANGALORE, INDIA 560068


   SIGNATURE BANK                                                                                        Contingent
10 565 FIFTH AVENUE, 12TH FLOOR
   NEW YORK, NY 10017
                                                                                   PPP Loan              Disputed                                                    $115,114.00
                                                                                                         Unliquidated



   360 SOLUTIONS INC.                         Attn: Carl Danziger
11 45 WEST 34TH STREET, SUITE 1001
   NEW YORK, NY 10001                         E-mail: carl@360solutioninc.com
                                                                                   Trade Payable                                                                      $59,245.38



   REGENTEX APPAREL LIMITED
   ROOM 1501, NO. 252 TIANDA LIJING PLAZA     E-Mail: archie@regentexapparel.com   Trade Payable                                                                      $53,000.75
12 NINGBO, ZHEJIANG
   CHINA

   PROFITS FUND FASHION
   MANUFACTURING LTD.
   23/F., TOWER 1, EVER GAIN PLAZA                                                 Trade Payable                                                                      $45,386.47
13 88 CONTAINER PORT ROAD KWAI CHUNG,
   N.T., HONG KONG


   U.S. CUSTOMS & BORDER PROTECTION
14 1300 PENNSYLVANIA AVE., NW
   WASHINGTON, D.C. 20229
                                                                                   Customs Duties                                                                     $44,759.29



   KJ SOCKS & INC.
   D-401, 700 PANGYO-RO, BUNDANG-GU
                                                                                   Trade Payable
15 SEONGNAM-SHI, GYEONGGI-DO                                                                                                                                          $26,629.85
   KOREA, REPUBLIC OF SOUTH KOREA 13516


   AMETHYST SUIITS PRIVATE LIMITED
   THIPPANUR ROAD ST., PANNIMADAI VILLAGE
                                                                                   Trade Payable                                                                      $26,250.00
16 COIMBATORE-641017
   TAMILNADU, INDIA


   QIMA LTD.
   5/F, DAH SING LIFE BUILDING
17 99-105 DES VOEUX ROAD CENTRAL              E-Mail: accounting@qima.com          Trade Payable                                                                      $24,870.00
   HONG KONG


   TROFICOLOR TEXTEIS SA
   RUA DA MABOR, 117
18 4760-813, LOUSADO, B.N. FAMALIC                                                 Trade Payable         Disputed                                                     $23,078.97
   PORTUGAL


   INSIGHT PARTNERS, LLC
19 16 EAST 40TH STREET, SUITE 804
   NEW YORK, NY 10016
                                                                                   Services                                                                           $19,075.00




   DHL EXPRESS USA INC.
20 16416 NORTHCHASE DRIVE
   HOUSTON, TX 77060
                                                                                   TRADE PAYABLE                                                                      $15,627.57




 Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                         page 2
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                                            BRANDEDPg   9 of 46
                                                     APPAREL  GROUP LLC
                                                INCOME STATEMENT
                                  FOR THE NINE MONTHS ENDING SEPTEMBER 30, 2020

                                          Year to Date
REVENUES
SALES - NON FACTORED               $       412,407.94     15.74
SALES - FACTORED                         2,216,949.48     84.64
CHARGEBACKS - UNALLOCATED                  (10,009.33)    (0.38)

TOTAL REVENUES                           2,619,348.09    100.00


COST OF SALES
PURCHASES                                1,445,818.16     55.20
DUTY                                       201,218.98      7.68
FREIGHT IN                                 162,163.25      6.19
CUSTOMS BROKERS FEE                          2,890.00      0.11
LABELS, TRIM, UPC TKTS, ETC.                 2,599.00      0.10
SHIPPING SUPPLIES                           22,349.91      0.85
PRODUCT TESTING                              9,467.50      0.36
COS - CHANGE IN INVENTORY                 (135,615.00)    (5.18)

TOTAL COST OF SALES                      1,710,891.80     65.32

GROSS PROFIT                              908,456.29      34.68

EXPENSES
ACCOUNTING                                  2,500.00       0.10
LEGAL                                      47,659.46       1.82
OUTSIDE SERVICES                           12,611.64       0.48
FREELANCE DESIGN EXPENSE                    7,695.00       0.29
DUES & SUBSCRIPTIONS                          602.36       0.02
PUBLICATIONS                                  162.71       0.01
ADVERTISNG & PROMOTIONS                     5,754.89       0.22
WEBSITE                                     7,901.47       0.30
SAMPLES                                    49,676.74       1.90
SHIPPING SUPPLIES                           8,891.51       0.34
TRAVEL                                     51,785.94       1.98
LOCAL TRANSPORTATION                          (30.20)      0.00
MEALS & ENTERTAINMENT                      28,600.23       1.09
RENT                                      100,959.23       3.85
TELEPHONE                                  12,792.29       0.49
OFFICE EXPENSE                             12,020.34       0.46
BANK FEES                                   8,195.62       0.31
CREDIT CARD FEES                             (139.54)     (0.01)
REPAIRS & MAINTENANCE                      22,494.52       0.86
MISCELLANEOUS EXPENSES                      4,224.28       0.16
SHOWROOM EXPENSES                            (300.00)     (0.01)
PROFESSIONAL FEES                           3,900.00       0.15
INSURANCE - WORKERS COMP.                   4,067.95       0.16
INSURANCE - GENERAL                        16,849.12       0.64
INSURANCE - LIFE & AD & D                     192.40       0.01
INSURANCE - MEDICAL                        47,464.16       1.81
MESSENGERS & DELIVERY                         180.28       0.01
EDI EXPENSE                                 2,587.05       0.10
MODELING AND PHOTO                         10,504.25       0.40
MARKETING                                   2,173.12       0.08
WAREHOUSING & BACK OFFICE                 235,204.70       8.98
POSTAGE & EXPRESS MAIL                     45,548.86       1.74
SALARIES - MANAGEMENT                     130,162.50       4.97
SALARIES- PRODUCTION/MERCHA                45,000.00       1.72
SALARIES - DESIGN                          62,572.95       2.39
ROYALTY EXPENSE                            52,386.97       2.00
PAYROLL SERVICE                            10,131.75       0.39
SOC. SEC./MEDICARE EXPENSE                 17,232.77       0.66

                                         FOR MANAGEMENT PURPOSES ONLY
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                                      BRANDEDPg  10 of 46
                                               APPAREL GROUP LLC
                                           INCOME STATEMENT
                             FOR THE NINE MONTHS ENDING SEPTEMBER 30, 2020

                                    Year to Date
FUTA EXPENSE                            271.56       0.01
SUTA EXPENSE                          3,175.89       0.12
CORPORATION TAXES                     3,300.00       0.13
GUARANTEE PAYMENT TO PARTN          154,981.29       5.92
FACTOR - COMMISSIONS                 23,753.17       0.91
FACTOR - INTEREST                   209,681.47       8.01
FACTOR - MISC. CHARGES               13,538.25       0.52
L/C COMMISSIONS & FEES                  758.95       0.03
INTEREST EXPENSE                        287.81       0.01

TOTAL EXPENSES                     1,479,965.71    56.50

NET INCOME                   $      (571,509.42)   (21.82)




                                   FOR MANAGEMENT PURPOSES ONLY
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                                   BRANDED APPAREL GROUP LLC
                                    STATEMENT OF CASH FLOW
                          FOR THE NINE MONTHS ENDED SEPTEMBER 30, 2020



                                                    Year to Date

CASH FLOWS FROM OPERATING ACTIVITIES
NET INCOME                           ($             571,509.42)
ADJUSTMENTS TO RECONCILE NET
INCOME TO NET CASH PROVIDED
BY OPERATING ACTIVITIES
NON-FACTORED RECEIVABLE                              (82,370.14)
INVENTORY                                           (135,615.00)
ACCOUNTS PAYABLE                                      367,974.66
DUE TO FACTOR - MEF AC 1490EG                         267,020.90
DUE TO FACTOR-MEF AC 22LN                              32,897.24

TOTAL ADJUSTMENTS                                    449,907.66

NET CASH PROVIDED BY OPERATIONS                     (121,601.76)


CASH FLOWS FROM INVESTING ACTIVITIES
USED FOR

NET CASH USED IN INVESTING                                 0.00


CASH FLOWS FROM FINANCING ACTIVITIES
PROCEEDS FROM
USED FOR
SBA PPP LOAN                                         115,114.00
SBA EIDL - LOAN                                      150,000.00
SBA EIDL - GRANT                                        6,000.00
MEMBERS' CAPITAL                                      (2,515.29)

NET CASH USED IN FINANCING                           268,598.71

NET INCREASE <DECREASE> IN CASH             $        146,996.95




SUMMARY
CASH BALANCE AT END OF PERIOD               $        149,780.95
CASH BALANCE AT BEG OF PERIOD                         (2,784.00)

NET INCREASE <DECREASE> IN CASH             $        146,996.95




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                                             BRANDEDPg  12 of 46
                                                      APPAREL GROUP LLC
                                                    BALANCE SHEET
                                                   SEPTEMBER 30, 2020

                                                           ASSETS

CURRENT ASSETS
CHECKING - SIGNATURE X9223          $          3,177.51
ECOMMERCE - SIGNATURE X8622                       63.81
WHOLESALE - SIGNATURE X8649                     (318.32)
CHECKING - HSBC X2257                        146,857.95
NON-FACTORED RECEIVABLE                      123,296.34
INVENTORY                                  1,770,258.00

TOTAL CURRENT ASSETS                                            2,043,335.29

PROPERTY AND EQUIPMENT
COMPUTER EQUIPMENT                             2,937.00
ACCUM. DEPR. - COMPUTERS                      (1,305.00)
LEASEHOLD IMPROVEMENT                         13,701.00
ACCUM. DEPR. - LHI                            (1,855.00)
FURNITURE & FIXTURES                          99,563.00
ACCUM. DEPR. F & F                           (93,329.00)

TOTAL PROPERTY AND EQUIPMENT                                        19,712.00

OTHER ASSETS
SECURITY DEPOSIT                               2,309.00

TOTAL OTHER ASSETS                                                   2,309.00

TOTAL ASSETS                                               $    2,065,356.29



                                               LIABILITIES AND CAPITAL

CURRENT LIABILITIES
ACCOUNTS PAYABLE                    $      2,288,812.28
DUE TO FACTOR - MEF AC 1490EG              2,287,728.46
DUE TO FACTOR-MEF AC 21LN                  1,300,000.00
DUE TO FACTOR-MEF AC 22LN                    950,190.93
SBA PPP LOAN                                 115,114.00
SBA EIDL - LOAN                              150,000.00
SBA EIDL - GRANT                               6,000.00

TOTAL CURRENT LIABILITIES                                       7,097,845.67

LONG-TERM LIABILITIES

TOTAL LONG-TERM LIABILITIES                                              0.00

TOTAL LIABILITIES                                               7,097,845.67

CAPITAL
MEMBERS' CAPITAL                          (4,460,979.96)
NET INCOME                                  (571,509.42)

TOTAL CAPITAL                                                  (5,032,489.38)

TOTAL LIABILITIES & CAPITAL                                $    2,065,356.29




                                UNAUDITED - FOR MANAGEMENT PURPOSES ONLY
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                                                                               EXTENSION GRANTED TO Pg
                                                                                                     09/15/20
                                                                                                       13 of 46
      Form
                                                  1065                                              U.S. Return of Partnership Income                                                                                OMB No. 1545-0123


                                                                                                                                                                                                                        2019
                                                                               For calendar year 2019, or tax year beginning                          ,             , ending                   ,             .
      Department of the Treasury
      Internal Revenue Service                                                              | Go to www.irs.gov/Form1065 for instructions and the latest information.
       A                                         Principal business activity                   Name of partnership                                                                                               D   Employer identification
                                                                                                                                                                                                                     number
      DESIGN &
      WHOLESALE                                                                             BRANDED APPAREL GROUP LLC                                                                                             XX-XXXXXXX
                                                                                     Type Number, street, and room or suite no. If a P.O. box, see instructions.
        B                                       Principal product or service          or                                                                                                                         E   Date business started
                                                                                     Print 141 WEST 36TH ST., 10TH FLOOR                                                                                          07/20/2012
      MENS APPAREL                                                                           City or town, state or province, country, and ZIP or foreign postal code
                                                                                                                                                                                                                 F   Total assets

        C                                       Business code number
      424990                               NEW YORK                                                                 NY 10018                        $ 1,662,134.
      G  Check  applicable boxes:   (1)       Initial return (2)          Final return    (3)       Name  change     (4)        Address   change  (5)       Amended return
      H  Check  accounting  method: (1)       Cash           (2)     X    Accrual         (3)       Other (specify) |
      I   Number of Schedules K-1. Attach one for each person who was a partner at any time during the tax year     |                   3
      J Check if Schedules C and M-3 are attached •••••••••••••••••••••••••••••••••••••••••••••• |
      K Check if partnership: (1)          Aggregated activities for section 465 at-risk purposes    (2)        Grouped activities for section 469 passive activity purposes
       Caution: Include only trade or business income and expenses on lines 1a through 22 below. See instructions for more information.
           1 a Gross receipts or sales ~~~~~~~~~~~~~~~~~~~~~~~~~~~ 1a                                               5,088,416.
             b Returns and allowances ~~~~~~~~~~~~~~~~~~~~~~~~~~ 1b
             c Balance. Subtract line 1b from line 1a ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 1c                                                           5,088,416.
                                                   2     Cost of goods sold (attach Form 1125-A) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                            2                                                      3,413,087.
   Income




                                                   3     Gross profit. Subtract line 2 from line 1c ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                        3                                                      1,675,329.
                                                   4     Ordinary income (loss) from other partnerships, estates, and trusts (attach statement) ~~~~~~~~~~~   4
                                                   5     Net farm profit (loss) (attach Schedule F (Form 1040 or 1040-SR)) ~~~~~~~~~~~~~~~~~~~~~              5
                                                   6     Net gain (loss) from Form 4797, Part II, line 17 (attach Form 4797) ~~~~~~~~~~~~~~~~~~~~~            6
                                                   7     Other income (loss) (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                            7
                                                   8     Total income (loss). Combine lines 3 through 7 ••••••••••••••••••••••••••••••                        8                                                      1,675,329.
                                                   9     Salaries and wages (other than to partners) (less employment credits) ~~~~~~~~~~~~~~~~~~~            9                                                        387,339.
Deductions (see instructions for limitations)




                                                  10     Guaranteed payments to partners ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 10                                                                                       240,232.
                                                  11     Repairs and maintenance ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 11                                                                                            5,536.
                                                  12     Bad debts ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 12
                                                  13     Rent ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 13                                                                                                      178,239.
                                                  14     Taxes and licenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~         SEE STATEMENT 1             14                                                            31,447.
                                                  15     Interest (see instructions) ••••••••••••••••••••••••••••••••••••••••• 15                                                                                         303,653.
                                                  16 a   Depreciation (if required, attach Form 4562) ~~~~~~~~~~~~~~~~~ 16a                          10,397.
                                                     b   Less depreciation reported on Form 1125-A and elsewhere on return ~~~~ 16b                          16c                                                             10,397.
                                                  17     Depletion (Do not deduct oil and gas depletion.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 17
                                                  18     Retirement plans, etc. ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 18
                                                  19     Employee benefit programs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ 19                                                                                          69,505.
                                                  20     Other deductions (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ SEE STATEMENT 2             20                                                      1,245,082.
                                                  21     Total deductions. Add the amounts shown in the far right column for lines 9 through 20 •••••••••• 21                                                        2,471,430.
                                                  22     Ordinary business income (loss). Subtract line 21 from line 8 ••••••••••••••••••••••• 22                                                                     -796,101.
                                                  23     Interest due under the look-back method-completed long-term contracts (attach Form 8697) ~~~~~~~~                                             23
   Tax and Payments




                                                  24     Interest due under the look-back method-income forecast method (attach Form 8866) ~~~~~~~~~~~                                                 24
                                                  25     BBA AAR imputed underpayment (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                  25
                                                  26     Other taxes (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                        26
                                                  27     Total balance due. Add lines 23 through 26~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                    27
                                                  28     Payment (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                           28
                                                  29     Amount owed. If line 28 is smaller than line 27, enter amount owed ~~~~~~~~~~~~~~~~~~~~                                                       29
                                                  30     Overpayment. If line 28 is larger than line 27, enter overpayment •••••••••••••••••••••                                                       30
                                                             Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge
                                                             and belief, it is true,correct, and complete. Declaration of preparer (other than partner or limited liability company member) is based on all information of
      Sign                                                   which preparer has any knowledge.


                                                               =                                                                                                          =
                                                                                                                                                                                                      May the IRS discuss this return with
      Here                                                                                                                                                                                            the preparer shown below?
                                                                    Signature of partner or limited liability company member                                                      Date                See instr.
                                                                                                                                                                                                                        X    Yes          No
                                                             Print/Type preparer's name                              Preparer's signature                                  Date           Check         if       PTIN
                                                            MICHAEL SLOTOPOLSKY                                      MICHAEL SLOTOPOLSKY 09/13/20                                         self-employed           P00215062
      Paid                                                    Firm's name      |
      Preparer                                                 VISION FINANCIAL GROUP CPAS, LLP                                                                                          Firm's EIN   |   XX-XXXXXXX
      Use Only                                                Firm's address |1131 CAMPUS DRIVE WEST
                                                               MORGANVILLE, NJ 07751                                                                                                     Phone no.    732-536-5595
      LHA For Paperwork Reduction Act Notice, see separate instructions.                                                                          911001 12-30-19                                                       Form   1065 (2019)
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  Form 1065 (2019)     BRANDED APPAREL GROUP LLC                                                                                 XX-XXXXXXX               Page 2
   Schedule B          Other Information
   1       What type of entity is filing this return? Check the applicable box:                                                            Yes No
       a        Domestic general partnership                          b       Domestic limited partnership
       c   X Domestic limited liability company                       d       Domestic limited liability partnership
       e        Foreign partnership                                   f       Other |
   2       At the end of the tax year:
       a   Did any foreign or domestic corporation, partnership (including any entity treated as a partnership), trust, or tax-
           exempt organization, or any foreign government own, directly or indirectly, an interest of 50% or more in the profit,
           loss, or capital of the partnership? For rules of constructive ownership, see instructions. If "Yes," attach Schedule
           B-1, Information on Partners Owning 50% or More of the Partnership ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         X
       b   Did any individual or estate own, directly or indirectly, an interest of 50% or more in the profit, loss, or capital of
           the partnership? For rules of constructive ownership, see instructions. If "Yes," attach Schedule B-1, Information
           on Partners Owning 50% or More of the Partnership••••••••••••••••••••••••••••••••••••••                                                  X
   3       At the end of the tax year, did the partnership:
       a   Own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of
           stock entitled to vote of any foreign or domestic corporation? For rules of constructive ownership, see instructions.
           If "Yes," complete (i) through (iv) below ••••••••••••••••••••••••••••••••••••••••••••                                                   X
                               (i) Name of Corporation                                 (ii) Employer
                                                                                                                      (iii) Country of (iv) Percentage
                                                                                        Identification                                    Owned in
                                                                                       Number (if any)                 Incorporation     Voting Stock




       b   Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in the profit, loss,
           or capital in any foreign or domestic partnership (including an entity treated as a partnership) or in the beneficial
           interest of a trust? For rules of constructive ownership, see instructions. If "Yes," complete (i) through (v) below ••••••••                   X
                     (i) Name of Entity                         (ii)  Employer
                                                                                   (iii) Type of Entity             (iv) Country of        (v)   Maximum
                                                            Identification Number                                                       Percentage Owned in
                                                                     (if any)                                        Organization       Profit, Loss, or Capital




   4       Does the partnership satisfy all four of the following conditions?                                                           Yes No
       a   The partnership's total receipts for the tax year were less than $250,000.
       b   The partnership's total assets at the end of the tax year were less than $ 1 million.
       c   Schedules K-1 are filed with the return and furnished to the partners on or before the due date (including
           extensions) for the partnership return.
      d The partnership is not filing and is not required to file Schedule M-3 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                X
           If "Yes," the partnership is not required to complete Schedules L, M-1, and M-2; item F on page 1 of Form 1065;
           or item L on Schedule K-1.
    5      Is this partnership a publicly traded partnership, as defined in section 469(k)(2)? ••••••••••••••••••••••••                      X
    6      During the tax year, did the partnership have any debt that was canceled, was forgiven, or had the terms modified
           so as to reduce the principal amount of the debt? •••••••••••••••••••••••••••••••••••••••                                         X
    7      Has this partnership filed, or is it required to file, Form 8918, Material Advisor Disclosure Statement, to provide
           information on any reportable transaction? ••••••••••••••••••••••••••••••••••••••••••                                             X
    8      At any time during calendar year 2019, did the partnership have an interest in or a signature or other authority over
           a financial account in a foreign country (such as a bank account, securities account, or other financial account)?
           See instructions for exceptions and filing requirements for FinCEN Form 114, Report of Foreign Bank and
           Financial Accounts (FBAR). If "Yes," enter the name of the foreign country |                                                      X
    9      At any time during the tax year, did the partnership receive a distribution from, or was it the grantor of, or
           transferor to, a foreign trust? If "Yes," the partnership may have to file Form 3520, Annual Return To Report
           Transactions With Foreign Trusts and Receipt of Certain Foreign Gifts. See instructions ••••••••••••••••••••                      X
   10 a Is the partnership making, or had it previously made (and not revoked), a section 754 election? ~~~~~~~~~~~~~~~~                     X
           See instructions for details regarding a section 754 election.
      b Did the partnership make for this tax year an optional basis adjustment under section 743(b) or 734(b)? If "Yes,"
           attach a statement showing the computation and allocation of the basis adjustment. See instructions •••••••••••••                 X
  911011 12-30-19                                                                                                                Form 1065 (2019)
                                                                        2
09080913 133681 BR8524                                      2019.04020 BRANDED APPAREL GROUP LLC                                               BR8524_1
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  Form 1065 (2019)      BRANDED APPAREL GROUP LLC                                                                    XX-XXXXXXX           Page 3
    Schedule B          Other Information (continued)
       c  Is the partnership required to adjust the basis of partnership assets under section 743(b) or 734(b) because of a             Yes   No
          substantial built-in loss (as defined under section 743(d)) or substantial basis reduction (as defined under section
          734(d))? If "Yes," attach a statement showing the computation and allocation of the basis adjustment. See instructions ••••         X
  11      Check this box if, during the current or prior tax year, the partnership distributed any property received in a
          like-kind exchange or contributed such property to another entity (other than disregarded entities wholly
          owned by the partnership throughout the tax year) •••••••••••••••••••••••••••••••••• |
  12      At any time during the tax year, did the partnership distribute to any partner a tenancy-in-common or other
          undivided interest in partnership property? ••••••••••••••••••••••••••••••••••••••••••                                              X
  13      If the partnership is required to file Form 8858, Information Return of U.S. Persons With Respect To Foreign
          Disregarded Entities (FDEs) and Foreign Branches (FBs), enter the number of Forms 8858 attached. See
          instructions •••••••••••••••••••••••••••••••••••••••• |
  14      Does the partnership have any foreign partners? If "Yes," enter the number of Forms 8805, Foreign Partner's
          Information Statement of Section 1446 Withholding Tax, filed for this partnership •••••• |                                          X
  15      Enter the number of Forms 8865, Return of U.S. Persons With Respect to Certain Foreign Partnerships, attached
          to this return •••••••••••••••••••••••••••••••••••••••• |
  16 a Did you make any payments in 2019 that would require you to file Form(s) 1099? See instructions ~~~~~~~~~~~~~~~                        X
      b If "Yes," did you or will you file required Form(s) 1099? ••••••••••••••••••••••••••••••••••••
  17      Enter the number of Forms 5471, Information Return of U.S. Persons With Respect To Certain Foreign
          Corporations, attached to this return •••••••••••••••••••••••••••• |
  18      Enter the number of partners that are foreign governments under section 892 •••••••• |
  19      During the partnership's tax year, did the partnership make any payments that would require it to file Form 1042
          and 1042-S under chapter 3 (sections 1441 through 1464) or chapter 4 (sections 1471 through 1474)?•••••••••••••                     X
  20      Was the partnership a specified domestic entity required to file Form 8938 for the tax year? See the Instructions
          for Form 8938 ••••••••••••••••••••••••••••••••••••••••••••••••••••••••                                                              X
  21      Is the partnership a section 721(c) partnership, as defined in Regulations section 1.721(c)-1T(b)(14)? ••••••••••••••               X
  22      During the tax year, did the partnership pay or accrue any interest or royalty for which the deduction is not allowed under
          section 267A? See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     X
          If "Yes," enter the total amount of the disallowed deductions ••••••••••••••• | $
  23      Did the partnership have an election under section 163(j) for any real property trade or business or any farming
          business in effect during the tax year? See instructions ••••••••••••••••••••••••••••••••••••                                       X
  24      Does the partnership satisfy one or more of the following? See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~                              X
      a The partnership owns a pass-through entity with current, or prior year carryover, excess business interest
          expense.
      b The partnership's aggregate average annual gross receipts (determined under section 448(c)) for the 3 tax years
          preceding the current tax year are more than $26 million and the partnership has business interest.
      c The partnership is a tax shelter (see instructions) and the partnership has business interest expense.
          If "Yes" to any, complete and attach Form 8990.
  25      Is the partnership electing out of the centralized partnership audit regime under section 6221(b)? See instructions ~~~~~~~         X
          If "Yes," the partnership must complete Schedule B-2 (Form 1065). Enter the total from Schedule B-2, Part III,
          line 3 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~ |
          If "No," complete Designation of Partnership Representative below.
  Designation of Partnership Representative (see instructions)
  Enter below the information for the partnership representative (PR) for the tax year covered by this return.
  Name of PR |      GARY JACOBS

                        =                                                                                 =
                                                                                         U.S. phone
  U.S. address of PR
                                                                                         number of PR

  If the PR is an entity, name of the designated individual for the PR |



                    =                                                                                 =
                                                                                         U.S. phone
  U.S. address of                                                                        number of
  designated                                                                             designated
  individual                                                                             individual
  26       Is the partnership attaching Form 8996 to certify as a Qualified Opportunity Fund? ~~~~~~~~~~~~~~~~~~~~~~                        X
           If "Yes," enter the amount from Form 8996, line 14 ••••••••••••••••••••                            |   $
  27       Enter the number of foreign partners subject to section 864(c)(8) as a result of transferring all or a portion of an
           interest in the partnership or of receiving a distribution from the partnership ••••••••• |
  28       At any time during the tax year, were there any transfers between the partnership and its partners subject to the
           disclosure requirements of Regulations section 1.707-8? •••••••••••••••••••••••••••••••••••                                      X
                                                                                                                                Form 1065 (2019)
  911021 12-30-19
                                                                            3
09080913 133681 BR8524                                          2019.04020 BRANDED APPAREL GROUP LLC                              BR8524_1
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   Form 1065 (2019)                      BRANDED APPAREL GROUP LLC          Pg               16 of 46                                         XX-XXXXXXX         Page 4
         Schedule K                      Partners' Distributive Share Items                                                                          Total amount
                             1     Ordinary business income (loss) (page 1, line 22) ~~~~~~~~~~~~~~~~~~~~~~~~~~                               1        -796,101.
                             2     Net rental real estate income (loss) (attach Form 8825) •••••••••••••••••••••••                            2
                             3a    Other gross rental income (loss) ~~~~~~~~~~~~~~~~~~~                 3a
                               b   Expenses from other rental activities (attach statement) ~~~~~~~     3b
                               c   Other net rental income (loss). Subtract line 3b from line 3a •••••••••••••••••••••                       3c
                             4     Guaranteed
                                   payments:       a Services 4a               240,232. b Capital 4b
                                                                                                                                                         240,232.
       Income (Loss)




                                   c Total. Add lines 4a and 4b ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         4c
                             5     Interest income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                5
                             6     Dividends and dividend equivalents: a Ordinary dividends ••••••••••••••••••••                             6a
                                   b Qualified dividends 6b                        c Dividend equivalents 6c
                             7     Royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   7
                             8     Net short-term capital gain (loss) (attach Schedule D (Form 1065)) ~~~~~~~~~~~~~~~~~~                      8
                             9a    Net long-term capital gain (loss) (attach Schedule D (Form 1065)) ••••••••••••••••••                      9a
                               b   Collectibles (28%) gain (loss) ~~~~~~~~~~~~~~~~~~~~                    9b
                               c   Unrecaptured section 1250 gain (attach statement) ~~~~~~~~~            9c
                            10     Net section 1231 gain (loss) (attach Form 4797) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                10
                            11     Other income (loss) (see instructions) Type |                                                              11
                            12   Section 179 deduction (attach Form 4562) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       12
       Deductions




                            13 a Contributions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  13a
                               b Investment interest expense ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            13b
                               c Section 59(e)(2) expenditures: (1) Type |                                                     (2) Amount | 13c(2)
                               d Other deductions (see instructions) Type |                                                                  13d
                                                                                                                                                       -555,869.
   Employ-




                            14 a Net earnings (loss) from self-employment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     14a
   ment




                               b Gross farming or fishing income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         14b
   Self-




                               c Gross nonfarm income •••••••••••••••••••••••••••••••••••••••                                                14c     1,675,329.
                            15 a Low-income housing credit (section 42(j)(5)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  15a
                               b Low-income housing credit (other) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        15b
       Credits




                               c Qualified rehabilitation expenditures (rental real estate) (attach Form 3468, if applicable) ~~~~~~~        15c
                               d Other rental real estate credits (see instructions) Type |                                                  15d
                               e Other rental credits (see instructions)             Type |                                                  15e
                               f Other credits (see instructions)                    Type |                                                  15f
                            16 a Name of country or U.S. possession |                                                                  ~~
                               b Gross income from all sources ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           16b
                               c Gross income sourced at partner level ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       16c
                                 Foreign gross income sourced at partnership level
     Foreign Transactions




                               d Reserved for future use |                              e Foreign branch category ~~~~~~~~~ |                16e
                                 Passive
                               f category |                              g General category |                                h Other ~ |     16h
                                 Deductions allocated and apportioned at partner level
                               i Interest expense |                                    j Other ~~~~~~~~~~~~~~~~~~~ |                         16j
                                 Deductions allocated and apportioned at partnership level to foreign source income
                               k Reserved for future use |                              l Foreign branch category ~~~~~~~~~ |                16l
                                 Passive
                               m category |                              n General category |                                o Other ~ |     16o
                               p Total foreign taxes (check one): |               Paid            Accrued     ~~~~~~~~~~~~~~                 16p
                               q Reduction in taxes available for credit (attach statement) ~~~~~~~~~~~~~~~~~~~~~~                           16q
                               r Other foreign tax information (attach statement) •••••••••••••••••••••••••••
                            17a Post-1986 depreciation adjustment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          17a           -2,013.
  Minimum Tax
  (AMT) Items




                               b Adjusted gain or loss ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              17b
  Alternative




                               c Depletion (other than oil and gas) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       17c
                               d Oil, gas, and geothermal properties - gross income ~~~~~~~~~~~~~~~~~~~~~~~~~                                17d
                               e Oil, gas, and geothermal properties - deductions ~~~~~~~~~~~~~~~~~~~~~~~~~~                                 17e
                               f Other AMT items (attach statement) •••••••••••••••••••••••••••••••••                                        17f
                            18 a Tax-exempt interest income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            18a
      Other Information




                               b Other tax-exempt income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              18b
                               c Nondeductible expenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~         SEE STATEMENT 3                       18c           52,616.
                            19 a Distributions of cash and marketable securities ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 19a
                               b Distributions of other property~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         19b
                            20 a Investment income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 20a
                               b Investment expenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                20b
                               c Other items and amounts (attach statement) ••••••••••••••••••••••••••••                  STMT 4
   911041 12-30-19                                                                      4                                                             Form 1065 (2019)
09080913 133681 BR8524                                                      2019.04020 BRANDED APPAREL GROUP LLC                                        BR8524_1
                 20-12552-scc                    Doc 1           Filed 10/29/20                Entered 10/29/20 16:09:14                             Main Document
  Form 1065 (2019) BRANDED APPAREL GROUP LLC
                                          Pg                                                   17 of 46                                                    XX-XXXXXXX            Page 5
  Analysis of Net Income (Loss)
  1   Net income (loss). Combine Schedule K, lines 1 through 11. From the result, subtract the sum of Schedule K, lines 12 through 13d, and 16p •••••   1                 -555,869.
  2     Analysis by                                           (ii) Individual             (iii) Individual                                      (v) Exempt                 (vi)
                                  (i) Corporate                   (active)                    (passive)             (iv) Partnership           Organization           Nominee/Other
        partner type:
      a General partners
      b Limited partners                                      -555,869.

      Schedule L             Balance Sheets per Books
                                                                                      Beginning of tax year                                             End of tax year
                            Assets
                                                                                (a)                           (b)                             (c)                          (d)
   1 Cash ~~~~~~~~~~~~~~~~                                                                                       4,564.                                                            0.
   2a Trade notes and accounts receivable~
    b Less allowance for bad debts ~~~~
   3 Inventories ~~~~~~~~~~~~~                                                                          1,050,143.                                                   1,634,643.
   4 U.S. government obligations ~~~~~
   5 Tax-exempt securities ~~~~~~~~
   6 Other current assets (attach statement)~                  STATEMENT 5                                       2,309.                                                      2,309.
   7a Loans to partners (or persons related to partners) ~
    b Mortgage and real estate loans ~~~
   8 Other investments (attach statement)~
   9a Buildings and other depreciable assets                               119,339.                                                         119,339.
    b Less accumulated depreciation ~~~                                     83,760.                           35,579.                        94,157.                       25,182.
  10a Depletable assets ~~~~~~~~~~
    b Less accumulated depletion ~~~~~
  11 Land (net of any amortization) ~~~~
  12a Intangible assets (amortizable only)~~
    b Less accumulated amortization ~~~
  13 Other assets (attach statement) ~~~
  14 Total assets ~~~~~~~~~~~~~                                                                         1,092,595.                                                   1,662,134.
               Liabilities and Capital
  15 Accounts payable ~~~~~~~~~~                                                                        1,131,240.                                                   1,920,293.
  16 Mortgages, notes, bonds payable in less than 1 year
  17 Other current liabilities (attach statement) ~            STATEMENT 6                              3,569,102.                                                   4,198,305.
  18 All nonrecourse loans ~~~~~~~~
  19a Loans from partners (or persons related to partners)
    b Mortgages, notes, bonds payable in 1 year or more
  20 Other liabilities (attach statement) ~~
  21 Partners' capital accounts ~~~~~~                    -3,607,747.                                                                                              -4,456,464.
  22 Total liabilities and capital ••••••                  1,092,595.                                                                                               1,662,134.
      Schedule M-1 Reconciliation of Income (Loss) per Books With Income (Loss) per Return
                                 Note: The partnership may be required to file Schedule M-3. See instructions.
   1     Net income (loss) per books ~~~~~~~                                    -848,717.             6 Income recorded on books this year not included
   2     Income included on Schedule K, lines 1, 2, 3c,                                                  on Schedule K, lines 1 through 11 (itemize):
         5, 6a, 7, 8, 9a, 10, and 11, not recorded on books                                            a Tax-exempt interest $
         this year (itemize):
   3 Guaranteed payments (other than health                                                           7 Deductions included on Schedule K, lines 1
     insurance) ~~~~~~~~~~~~~~~~                                                  240,232.               through 13d, and 16p, not charged against
   4 Expenses recorded on books this year not included on                                                book income this year (itemize):
        Schedule K, lines 1 through 13d, and 16p (itemize):                                            a Depreciation $


    a Depreciation $                                                                                  8 Add lines 6 and 7 ~~~~~~~~~~~~
    b Travel and entertainment $ 52,616.       52,616.                                                9 Income (loss) (Analysis of Net Income (Loss),
   5 Add lines 1 through 4 •••••••••••      -555,869.                                                   line 1). Subtract line 8 from line 5 ••••••                       -555,869.
    Schedule M-2 Analysis of Partners' Capital Accounts
   1 Balance at beginning of year ~~~~~~~ -3,607,747.                                                 6 Distributions: a Cash ~~~~~~~~~
   2 Capital contributed: a Cash ~~~~~~~                                                                                b Property ~~~~~~~~
                             b Property ~~~~~~                                                        7 Other decreases (itemize):
   3 Net income (loss) per books ~~~~~~~                                        -848,717.
   4 Other increases (itemize):                                                                       8 Add lines 6 and 7 ~~~~~~~~~~~~
   5 Add lines 1 through 4 •••••••••••                                   -4,456,464.                  9 Balance at end of year. Subtract line 8 from line 5 ••     -4,456,464.
  911042 12-30-19                                                                     5                                                                              Form 1065 (2019)
09080913 133681 BR8524                                                    2019.04020 BRANDED APPAREL GROUP LLC                                                        BR8524_1
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                                                                 Pg 18 of 46
  Form       1125-A                                            Cost of Goods Sold
  (Rev. November 2018)                           | Attach to Form 1120, 1120-C, 1120-F, 1120S, or 1065.                            OMB No. 1545-0123
  Department of the Treasury                    | Go to www.irs.gov/Form1125A for the latest information.
  Internal Revenue Service
  Name                                                                                                                     Employer Identification number

         BRANDED APPAREL GROUP LLC                                                                                            XX-XXXXXXX
  1    Inventory at beginning of year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       1          1,050,143.
  2    Purchases ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                    2          3,233,648.
  3    Cost of labor ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                 3
  4    Additional section 263A costs (attach schedule) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                              4
  5                                                               SEE STATEMENT 8
       Other costs (attach schedule) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                        5               763,939.
  6   Total. Add lines 1 through 5 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          6             5,047,730.
  7   Inventory at end of year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           7             1,634,643.
  8   Cost of goods sold. Subtract line 7 from line 6. Enter here and on Form 1120, page 1, line 2 or the
      appropriate line of your tax return. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                          8             3,413,087.
  9 a Check all methods used for valuing closing inventory:
      (i)        Cost
      (ii)   X Lower of cost or market
      (iii)      Other (Specify method used and attach explanation) |


      b Check if there was a writedown of subnormal goods ~~~~~~~~~~~~~~~~~~~~~~~                                                          |
      c Check if the LIFO inventory method was adopted this tax year for any goods (if checked, attach Form 970) ~~~~~~~~~~~~~~~~~~~~ |
      d If the LIFO inventory method was used for this tax year, enter amount of closing inventory computed
        under LIFO ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               9d
      e If property is produced or acquired for resale, do the rules of Section 263A apply to the entity? See instructions ~~~~~~~~~~~~~~ Yes        X      No
      f Was there any change in determining quantities, cost, or valuations between opening and closing inventory? ~~~~~~~~~~~~~~~        Yes        X      No
        If "Yes," attach explanation.


  For Paperwork Reduction Act Notice, see separate instructions.                                                            Form 1125-A (Rev. 11-2018)




  924441
  04-01-19       LHA
                                                                        6
09080913 133681 BR8524                                      2019.04020 BRANDED APPAREL GROUP LLC                                       BR8524_1
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                                                                                    Pg 19 of 46
2019 DEPRECIATION AND AMORTIZATION REPORT

BRANDED APPAREL GROUP LLC                                                                           OTHER      1
                                                                        C                                                      *
  Asset                                      Date                       o   Line     Unadjusted      Bus    Section 179   Reduction In      Basis For      Beginning     Current   Current Year     Ending
   No.                Description          Acquired   Method    Life    n   No.     Cost Or Basis     %      Expense         Basis         Depreciation   Accumulated    Sec 179    Deduction     Accumulated
                                                                        v                            Excl                                                 Depreciation   Expense                  Depreciation

      4 COMPUTER                          06/01/14 SL           3.00        16          1,305.                                                 1,305.        1,305.                          0.       1,305.

     12 COMPUTER                          10/31/15 SL           3.00        16          1,632.                                                 1,632.                                        0.

          * OTHER TOTAL OTHER                                                           2,937.                                                 2,937.        1,305.                          0.       1,305.

          BUILDINGS

      2 LEASEHOLD IMPROVEMENTS            01/01/13 SL           39.00       16          5,625.                                                 5,625.           930.                      144.        1,074.

      3 LEASEHOLD IMPROVEMENTS            06/01/14 SL           39.00       16             705.                                                   705.            90.                       18.          108.

      8 LEASEHOLD IMPROVEMENTS            01/01/16 SL           39.00       16          2,800.                                                 2,800.           216.                        72.          288.

      9 LEASEHOLD IMPROVEMENTS            08/08/16 SL           39.00       16             625.                                                   625.            39.                       16.           55.

     10 LEASEHOLD IMPROVEMENTS            09/01/16 SL           39.00       16          2,972.                                                 2,972.           177.                        76.          253.

     11 LEASEHOLD IMPROVEMENTS            12/09/16 SL           39.00       16             974.                                                   974.            52.                       25.           77.

          * OTHER TOTAL BUILDINGS                                                      13,701.                                                13,701.        1,504.                       351.        1,855.

          FURNITURE & FIXTURES

      1 FURNITURE                         01/01/13 200DB 7.00 HY17                     95,650.                                                95,650.       81,490.                    9,440.       90,930.

      5 FURNITURE                         05/31/15 200DB 7.00 HY17                      1,619.                                                 1,619.                                     463.           463.

      6 FURNITURE                         07/07/16 200DB 7.00 HY17                         500.                                 250.              250.          141.                        31.          172.

      7 FURNITURE                         07/13/16 200DB 7.00 HY17                      1,794.                                  897.              897.          505.                      112.           617.
        * OTHER TOTAL FURNITURE &
        FIXTURES                                                                       99,563.                               1,147.           98,416.       82,136.                   10,046.       92,182.
        * GRAND TOTAL OTHER
        DEPRECIATION                                                                 116,201.                                1,147.         115,054.        84,945.                   10,397.       95,342.
928111 04-01-19
                                                                                   (D) - Asset disposed                                  * ITC, Salvage, Bonus, Commercial Revitalization Deduction, GO Zone
                                                          6.1
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                                    Worksheet for Figuring Net Earnings (Loss) From Self-Employment

  Name of partnership                                                                                                             Employer identification number


          BRANDED APPAREL GROUP LLC                                                                                                  XX-XXXXXXX
  1a      Ordinary income (loss) (Schedule K, line 1) ~~~~~~~~~~~~~~~~~~~~                                1a       -796,101.
   b      Net income (loss) from CERTAIN rental real estate activities ~~~~~~~~~~~~~                      1b
   c      Net income (loss) from other rental activities (Schedule K, line 3c) ~~~~~~~~~~                 1c
   d      Net loss from Form 4797, Part II, line 17, included on line 1a above. Enter as a positive
          amount ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     1d
   e      Other additions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                1e
   f      Combine lines 1a through 1e ~~~~~~~~~~~~~~~~~~~~~~~~~~                                          1f       -796,101.
  2a      Net gain from Form 4797, Part II, line 17, included on line 1a above ~~~~~~~~~~                 2a
   b      Other subtractions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              2b
   c      Add lines 2a and 2b ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             2c
  3a      Subtract line 2c from line 1f. If line 1f is a loss, increase the loss on line 1f by the amount
          on line 2c ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  3a       -796,101.
      b   Part of line 3a allocated to limited partners, estates, trusts, corporations, exempt
          organizations, and IRAs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           3b
   c      Subtract line 3b from line 3a ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           3c            -796,101.
  4a      Guaranteed payments to partners (Schedule K, line 4a) derived from a trade or business
          as defined in section 1402(c) ~~~~~~~~~~~~~~~~~~~~~~~~~~                                        4a        240,232.
      b   Part of line 4a allocated to individual limited partners for other than services and to
          estates, trusts, corporations, exempt organizations, and IRAs ~~~~~~~~~~~~                      4b
      c   Subtract line 4b from line 4a ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                          4c             240,232.
  5       Net earnings (loss) from self-employment. Combine lines 3c and 4c. Enter here and on Schedule K, line 14a •••••••  5             -555,869.




  912161
  12-30-19
                                                                        6.2
09080913 133681 BR8524                                      2019.04020 BRANDED APPAREL GROUP LLC                                            BR8524_1
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BRANDED APPAREL GROUP LLC                                       Pg 21
                                                 Qualified Business   of 46 (Section 199A)
                                                                    Income                                                                                     XX-XXXXXXX
                                                               Ordinary Business         Rental          Royalty          Section 1231            Other       Section 179
SSTB PTP                Description                EIN
                                                                 Income (Loss)       Income (Loss)    Income (Loss)        Gain (Loss)        Income (Loss)    Deduction
           BRANDED APPAREL GROUP LLC                                 -796,101.
           TOTAL                                                     -796,101.




                                                Charitable          Other                              Unadjusted                     Cooperative
SSTB PTP                Description                                                   W-2 Wages                              Qualified                         Reserved
                                               Contributions      Deductions                          Basis of Assets     Business Income       W-2 Wages
           BRANDED APPAREL GROUP LLC                                                       387,339.          116,201.
           TOTAL                                                                           387,339.          116,201.




Qualified REIT dividends ~~~~~~~~~~~~~~~~~                                     6.3                                                                              914821 12-19-19
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  BRANDED APPAREL GROUP LLC         Pg 22 of 46                     XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}}}}}                                         }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
FORM 1065                        TAX EXPENSE                     STATEMENT   1
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                         AMOUNT
}}}}}}}}}}}                                                                     }}}}}}}}}}}}}}
PAYROLL TAXES                                                                          31,447.
                                                                                }}}}}}}}}}}}}}
TOTAL TO FORM 1065, LINE 14                                                            31,447.
                                                                                ~~~~~~~~~~~~~~

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
FORM 1065                      OTHER DEDUCTIONS                  STATEMENT   2
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                         AMOUNT
}}}}}}}}}}}                                                                     }}}}}}}}}}}}}}
ADVERTISING                                                                            23,579.
BANK AND CREDIT CARD FEES                                                              26,652.
DUES AND SUBSCRIPTIONS                                                                  2,841.
EDI EXPENSE                                                                             4,925.
FACTOR COMMISSIONS                                                                     64,125.
FACTOR FEES                                                                            13,507.
FILING FEES                                                                             2,940.
GIFTS                                                                                     227.
INSURANCE                                                                              28,721.
MEALS                                                                                  52,617.
MISCELLANEOUS AND SUNDRY                                                                5,008.
MODELING AND PHOT                                                                      18,471.
OFFICE EXPENSE                                                                         41,519.
OUTSIDE SERVICES                                                                       37,987.
PAYROLL SERVICES                                                                       16,860.
POSTAGE AND DELIVERY                                                                   69,247.
PROFESSIONAL FEES                                                                      62,612.
ROYALTY EXPENSE                                                                       101,768.
SAMPLES                                                                               107,414.
SHOWROOM                                                                                  375.
TELEPHONE                                                                              20,597.
TRAVEL                                                                                167,984.
WAREHOUSING AND BACK OFFICE                                                           364,811.
WEBSITE                                                                                10,295.
                                                                                }}}}}}}}}}}}}}
TOTAL TO FORM 1065, LINE 20                                                         1,245,082.
                                                                                ~~~~~~~~~~~~~~




                                                7                  STATEMENT(S) 1, 2
09080913 133681 BR8524              2019.04020 BRANDED APPAREL GROUP LLC   BR8524_1
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  BRANDED APPAREL GROUP LLC         Pg 23 of 46                     XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}}}}}                                         }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE K                  NONDEDUCTIBLE EXPENSE                STATEMENT   3
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                         AMOUNT
}}}}}}}}}}}                                                                     }}}}}}}}}}}}}}
EXCLUDED MEALS AND ENTERTAINMENT EXPENSES                                              52,616.
                                                                                }}}}}}}}}}}}}}
TOTAL TO SCHEDULE K, LINE 18C                                                          52,616.
                                                                                ~~~~~~~~~~~~~~

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE K                       OTHER ITEMS                     STATEMENT   4
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                         AMOUNT
}}}}}}}}}}}                                                                     }}}}}}}}}}}}}}
SECTION 199A - ORDINARY INCOME (LOSS)                                                -796,101.
SECTION 199A W-2 WAGES                                                                387,339.
SECTION 199A UNADJUSTED BASIS OF ASSETS                                               116,201.

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE L                  OTHER CURRENT ASSETS                 STATEMENT   5
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                              BEGINNING OF    END OF TAX
DESCRIPTION                                                     TAX YEAR         YEAR
}}}}}}}}}}}                                                  }}}}}}}}}}}}}} }}}}}}}}}}}}}}
SECURITY DEPOSITS                                                    2,309.         2,309.
                                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO SCHEDULE L, LINE 6                                          2,309.         2,309.
                                                             ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~

~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
SCHEDULE L                OTHER CURRENT LIABILITIES              STATEMENT   6
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

                                                              BEGINNING OF    END OF TAX
DESCRIPTION                                                     TAX YEAR         YEAR
}}}}}}}}}}}                                                  }}}}}}}}}}}}}} }}}}}}}}}}}}}}
DUE TO FACTOR                                                    3,569,102.     4,197,079.
SIGNATURE BANK LOAN                                                                 1,226.
                                                             }}}}}}}}}}}}}} }}}}}}}}}}}}}}
TOTAL TO SCHEDULE L, LINE 17                                     3,569,102.     4,198,305.
                                                             ~~~~~~~~~~~~~~ ~~~~~~~~~~~~~~




                                                8            STATEMENT(S) 3, 4, 5, 6
09080913 133681 BR8524              2019.04020 BRANDED APPAREL GROUP LLC   BR8524_1
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  BRANDED APPAREL GROUP LLC         Pg 24 of 46                     XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}}}}}                                         }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
FORM 1065             PARTNERS' CAPITAL ACCOUNT SUMMARY          STATEMENT   7
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

PARTNER        BEGINNING         CAPITAL            SCHEDULE M-2        WITH-           ENDING
NUMBER          CAPITAL        CONTRIBUTED          LNS 3, 4 & 7       DRAWALS          CAPITAL
}}}}}}}       }}}}}}}}}}}}     }}}}}}}}}}}}         }}}}}}}}}}}}     }}}}}}}}}}}}     }}}}}}}}}}}}

        1      -1,278,064.                             -288,563.                       -1,566,627.

        2      -1,078,292.                             -280,078.                       -1,358,370.

        3      -1,251,391.                             -280,076.                       -1,531,467.

              }}}}}}}}}}}}     }}}}}}}}}}}}         }}}}}}}}}}}}     }}}}}}}}}}}}     }}}}}}}}}}}}
TOTAL          -3,607,747.                             -848,717.                       -4,456,464.
              ~~~~~~~~~~~~     ~~~~~~~~~~~~         ~~~~~~~~~~~~     ~~~~~~~~~~~~     ~~~~~~~~~~~~




                                                    9                     STATEMENT(S) 7
09080913 133681 BR8524                  2019.04020 BRANDED APPAREL GROUP LLC   BR8524_1
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  BRANDED APPAREL GROUP LLC         Pg 25 of 46                     XX-XXXXXXX
  }}}}}}}}}}}}}}}}}}}}}}}}}                                         }}}}}}}}}}
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
FORM 1125-A                      OTHER COSTS                     STATEMENT   8
}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}}

DESCRIPTION                                                                         AMOUNT
}}}}}}}}}}}                                                                     }}}}}}}}}}}}}}
CUSTOMS BROKER FEES                                                                     6,954.
DUTY AND FREIGHT                                                                      703,621.
SUPPLIES                                                                               53,364.
                                                                                }}}}}}}}}}}}}}
TOTAL TO LINE 5                                                                       763,939.
                                                                                ~~~~~~~~~~~~~~




                                                10                    STATEMENT(S) 8
09080913 133681 BR8524              2019.04020 BRANDED APPAREL GROUP LLC   BR8524_1
                          20-12552-scc        Doc 1     Filed 10/29/20 Entered 10/29/20 16:09:14                  Main Document
                                                                     Pg 26 of 46
ALTERNATIVE MINIMUM TAX DEPRECIATION REPORT




   Asset                                                Date      AMT     AMT           AMT            AMT            Regular         AMT            AMT
    No.                 Description                   Acquired   Method   Life      Cost Or Basis   Accumulated     Depreciation   Depreciation   Adjustment

       2LEASEHOLD    IMPROVEMENTS                 010113     39.00                     5,625.           432.             144.          144.            0.
       3LEASEHOLD    IMPROVEMENTS                 060114     39.00                       705.            54.              18.           18.            0.
       8LEASEHOLD    IMPROVEMENTS                 010116     39.00                     2,800.           216.              72.           72.            0.
       9LEASEHOLD    IMPROVEMENTS                 080816     39.00                       625.            39.              16.           16.            0.
      10LEASEHOLD    IMPROVEMENTS                 090116     39.00                     2,972.           177.              76.           76.            0.
      11LEASEHOLD    IMPROVEMENTS                 120916     39.00                       974.            52.              25.           25.            0.
       1FURNITURE                                 010113150DB7.00                     95,650.        78,075.           9,440.       11,717.       -2,277.
       5FURNITURE                                 053115150DB7.00                      1,619.           924.             463.          199.          264.
       6FURNITURE                                 070716200DB7.00                        500.           141.              31.           31.            0.
       7FURNITURE                                 071316200DB7.00                      1,794.           505.             112.          112.            0.

           TOTALS                                                                   113,264.         80,615.         10,397.        12,410.       -2,013.

           MACRS AMT ADJUSTMENT                                                                                                     -2,013.




928104
04-01-19




                                                                                 10.1
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2019 DEPRECIATION AND AMORTIZATION REPORT
                                    - CURRENT YEAR FEDERAL -                       BRANDED APPAREL GROUP LLC

                                                                                                         *
   Asset                                   Date                      Line    Unadjusted     Bus %   Reduction In      Basis For        Accumulated      Current       Current Year
    No.            Description           Acquired   Method    Life   No.    Cost Or Basis    Excl      Basis         Depreciation      Depreciation     Sec 179        Deduction



           4COMPUTER                    060114SL             3.00 16           1,305.                                   1,305.           1,305.                                  0.

      12COMPUTER                        103115SL             3.00 16           1,632.                                   1,632.                                                   0.

            * OTHER TOTAL OTHER                                                2,937.                                   2,937.           1,305.                                  0.

        BUILDINGS
        LEASEHOLD
       2IMPROVEMENTS                    010113SL             39.0016           5,625.                                   5,625.                930.                           144.
        LEASEHOLD
       3IMPROVEMENTS                    060114SL             39.0016               705.                                     705.                90.                            18.
        LEASEHOLD
       8IMPROVEMENTS                    010116SL             39.0016           2,800.                                   2,800.                216.                             72.
        LEASEHOLD
       9IMPROVEMENTS                    080816SL             39.0016               625.                                     625.                39.                            16.
        LEASEHOLD
      10IMPROVEMENTS                    090116SL             39.0016           2,972.                                   2,972.                177.                             76.
        LEASEHOLD
      11IMPROVEMENTS                    120916SL             39.0016               974.                                     974.                52.                            25.
        * OTHER TOTAL
        BUILDINGS                                                            13,701.                                  13,701.            1,504.                              351.
        FURNITURE &
        FIXTURES

           1FURNITURE                   010113200DB7.00 17                   95,650.                                  95,650.          81,490.                           9,440.

           5FURNITURE                   053115200DB7.00 17                     1,619.                                   1,619.                                               463.

           6FURNITURE                   070716200DB7.00 17                         500.                    250.             250.              141.                             31.

           7FURNITURE           071316200DB7.00 17                             1,794.                      897.             897.              505.                           112.
            * OTHER TOTAL
            FURNITURE & FIXTURE                                              99,563.                  1,147.          98,416.          82,136.                         10,046.
            * GRAND TOTAL OTHER
            DEPRECIATION                                                    116,201.                  1,147. 115,054.                  84,945.                         10,397.
928102 04-01-19
                                                                     (D) - Asset disposed                     * ITC, Section 179, Salvage, Bonus, Commercial Revitalization Deduction
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                        - NEXT YEAR FEDERAL -              BRANDED APPAREL GROUP LLC


   Asset                                                     Date                            Unadjusted         *           Basis For       Accumulated        Amount Of
    No.                       Description                  Acquired   Method       Life     Cost Or Basis   Reduction In   Depreciation     Depreciation      Depreciation
                                                                                                               Basis
           4COMPUTER                                     060114SL              3.00            1,305.                        1,305.            1,305.                    0.


      12COMPUTER                                         103115SL              3.00            1,632.                        1,632.                                      0.


            * OTHER TOTAL OTHER                                                                2,937.                0.      2,937.            1,305.                    0.


            BUILDINGS


           2LEASEHOLD IMPROVEMENTS                       010113SL              39.00           5,625.                        5,625.            1,074.                144.
              AMT DEPRECIATION                                 SL              39.00                                                             576.                144.

           3LEASEHOLD IMPROVEMENTS                       060114SL              39.00               705.                           705.             108.                18.
              AMT DEPRECIATION                                 SL              39.00                                                                72.                18.

           8LEASEHOLD IMPROVEMENTS                       010116SL              39.00           2,800.                        2,800.                288.                72.
              AMT DEPRECIATION                                 SL              39.00                                                               288.                72.

           9LEASEHOLD IMPROVEMENTS                       080816SL              39.00               625.                           625.               55.               16.
              AMT DEPRECIATION                                 SL              39.00                                                                 55.               16.

      10LEASEHOLD IMPROVEMENTS                           090116SL              39.00           2,972.                        2,972.                253.                76.
          AMT DEPRECIATION                                     SL              39.00                                                               253.                76.

      11LEASEHOLD IMPROVEMENTS                           120916SL              39.00               974.                           974.               77.               25.
          AMT DEPRECIATION                                     SL              39.00                                                                 77.               25.

           * OTHER TOTAL BUILDINGS                                                           13,701.                 0.    13,701.             1,855.                351.




                                                            (D) - Asset disposed          * ITC, Section 179, Salvage, HR 3090, Commercial Revitalization Deduction, GO Zone
928103 04-01-19
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                        - NEXT YEAR FEDERAL -              BRANDED APPAREL GROUP LLC


   Asset                                                     Date                            Unadjusted         *           Basis For       Accumulated        Amount Of
    No.                       Description                  Acquired   Method       Life     Cost Or Basis   Reduction In   Depreciation     Depreciation      Depreciation
                                                                                                               Basis
            FURNITURE & FIXTURES


           1FURNITURE                                    010113200DB7.00                     95,650.                       95,650.           90,930.            4,720.
              AMT DEPRECIATION                                 150DB7.00                                                                     89,792.            5,858.

           5FURNITURE                                    053115200DB7.00                       1,619.                        1,619.              463.                462.
              AMT DEPRECIATION                                 150DB7.00                                                                       1,123.                198.

           6FURNITURE                                    070716200DB7.00                           500.         250.              250.             172.                22.
              AMT DEPRECIATION                                 200DB7.00                                                                           172.                22.

           7FURNITURE                                    071316200DB7.00                       1,794.           897.              897.             617.                80.
              AMT DEPRECIATION                                 200DB7.00                                                                           617.                80.

            * OTHER TOTAL FURNITURE & FIXTURES                                               99,563. 1,147.                98,416.           92,182.            5,284.


            * GRAND TOTAL OTHER DEPRECIATION                                               116,201. 1,147. 115,054.                          95,342.            5,635.
                AMT DEPRECIATION                                                           113,264.        112,117.                          93,025.            6,509.




                                                            (D) - Asset disposed          * ITC, Section 179, Salvage, HR 3090, Commercial Revitalization Deduction, GO Zone
928103 04-01-19
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                                    - CURRENT YEAR STATE -                         BRANDED APPAREL GROUP LLC

                                                                                                         *
   Asset                                   Date                      Line    Unadjusted     Bus %   Reduction In      Basis For        Accumulated      Current       Current Year
    No.            Description           Acquired   Method    Life   No.    Cost Or Basis    Excl      Basis         Depreciation      Depreciation     Sec 179        Deduction



           4COMPUTER                    060114SL             3.00 16           1,305.                                   1,305.           1,305.                                  0.

      12COMPUTER                        103115SL             3.00 16           1,632.                                   1,632.                                                   0.

            * OTHER TOTAL OTHER                                                2,937.                                   2,937.           1,305.                                  0.

        BUILDINGS
        LEASEHOLD
       2IMPROVEMENTS                    010113SL             39.0016           5,625.                                   5,625.                930.                           144.
        LEASEHOLD
       3IMPROVEMENTS                    060114SL             39.0016               705.                                     705.                90.                            18.
        LEASEHOLD
       8IMPROVEMENTS                    010116SL             39.0016           2,800.                                   2,800.                216.                             72.
        LEASEHOLD
       9IMPROVEMENTS                    080816SL             39.0016               625.                                     625.                39.                            16.
        LEASEHOLD
      10IMPROVEMENTS                    090116SL             39.0016           2,972.                                   2,972.                177.                             76.
        LEASEHOLD
      11IMPROVEMENTS                    120916SL             39.0016               974.                                     974.                52.                            25.
        * OTHER TOTAL
        BUILDINGS                                                            13,701.                                  13,701.            1,504.                              351.
        FURNITURE &
        FIXTURES

           1FURNITURE                   010113200DB7.00 17                   95,650.                                  95,650.          81,490.                           9,440.

           5FURNITURE                   053115200DB7.00 17                     1,619.                                   1,619.                                               463.

           6FURNITURE                   070716200DB7.00 17                         500.                                     500.              281.                             63.

           7FURNITURE           071316200DB7.00 17                             1,794.                                   1,794.           1,010.                              224.
            * OTHER TOTAL
            FURNITURE AND FIXTU                                              99,563.                                  99,563.          82,781.                         10,190.
            * GRAND TOTAL OTHER
            DEPR                                                            116,201.                                116,201.           85,590.                         10,541.
928102 04-01-19
                                                                     (D) - Asset disposed                     * ITC, Section 179, Salvage, Bonus, Commercial Revitalization Deduction
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                                    - CURRENT YEAR STATE -                         BRANDED APPAREL GROUP LLC

                                                                                                         *
   Asset                                   Date                      Line    Unadjusted     Bus %   Reduction In      Basis For        Accumulated      Current       Current Year
    No.            Description           Acquired   Method    Life   No.    Cost Or Basis    Excl      Basis         Depreciation      Depreciation     Sec 179        Deduction

              TOTALS FOR NEW
            YORK                                                            116,201.                                116,201.           85,590.                         10,541.

           4COMPUTER                    060114SL             3.00 16           1,305.                                   1,305.           1,305.                                  0.

      12COMPUTER                        103115SL             3.00 16           1,632.                                   1,632.                                                   0.

            * OTHER TOTAL OTHER                                                2,937.                                   2,937.           1,305.                                  0.

        BUILDINGS
        LEASEHOLD
       2IMPROVEMENTS                    010113SL             39.0016           5,625.                                   5,625.                930.                           144.
        LEASEHOLD
       3IMPROVEMENTS                    060114SL             39.0016               705.                                     705.                90.                            18.
        LEASEHOLD
       8IMPROVEMENTS                    010116SL             39.0016           2,800.                                   2,800.                216.                             72.
        LEASEHOLD
       9IMPROVEMENTS                    080816SL             39.0016               625.                                     625.                39.                            16.
        LEASEHOLD
      10IMPROVEMENTS                    090116SL             39.0016           2,972.                                   2,972.                177.                             76.
        LEASEHOLD
      11IMPROVEMENTS                    120916SL             39.0016               974.                                     974.                52.                            25.
        * OTHER TOTAL
        BUILDINGS                                                            13,701.                                  13,701.            1,504.                              351.
        FURNITURE &
        FIXTURES

           1FURNITURE                   010113200DB7.00 17                   95,650.                                  95,650.          81,490.                           9,440.

           5FURNITURE                   053115200DB7.00 17                     1,619.                                   1,619.                                               463.

           6FURNITURE                   070716200DB7.00 17                         500.                                     500.              281.                             63.

           7FURNITURE           071316200DB7.00 17                             1,794.                                   1,794.           1,010.                              224.
            * OTHER TOTAL
            FURNITURE AND FIXTU                                              99,563.                                  99,563.          82,781.                         10,190.
928102 04-01-19
                                                                     (D) - Asset disposed                     * ITC, Section 179, Salvage, Bonus, Commercial Revitalization Deduction
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                                   - CURRENT YEAR STATE -                        BRANDED APPAREL GROUP LLC

                                                                                                       *
   Asset                                  Date                     Line    Unadjusted     Bus %   Reduction In      Basis For        Accumulated      Current       Current Year
    No.           Description           Acquired   Method   Life   No.    Cost Or Basis    Excl      Basis         Depreciation      Depreciation     Sec 179        Deduction

           * GRAND TOTAL OTHER
           DEPR                                                           116,201.                                116,201.           85,590.                         10,541.




928102 04-01-19
                                                                   (D) - Asset disposed                     * ITC, Section 179, Salvage, Bonus, Commercial Revitalization Deduction
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   Asset                                                     Date                            Unadjusted         *           Basis For       Accumulated        Amount Of
    No.                       Description                  Acquired   Method       Life     Cost Or Basis   Reduction In   Depreciation     Depreciation      Depreciation
                                                                                                               Basis
       4COMPUTER                             060114SL   3.00    1,305.                                                       1,305.            1,305.                    0.
      12COMPUTER                             103115SL   3.00    1,632.                                                       1,632.                                      0.
        * OTHER TOTAL OTHER                                     2,937.                                               0.      2,937.            1,305.                    0.
        BUILDINGS
       2LEASEHOLD IMPROVEMENTS               010113SL   39.00   5,625.                                                      5,625.             1,074.                144.
       3LEASEHOLD IMPROVEMENTS               060114SL   39.00     705.                                                        705.               108.                 18.
       8LEASEHOLD IMPROVEMENTS               010116SL   39.00   2,800.                                                      2,800.               288.                 72.
       9LEASEHOLD IMPROVEMENTS               080816SL   39.00     625.                                                        625.                55.                 16.
      10LEASEHOLD IMPROVEMENTS               090116SL   39.00   2,972.                                                      2,972.               253.                 76.
      11LEASEHOLD IMPROVEMENTS               120916SL   39.00     974.                                                        974.                77.                 25.
        * OTHER TOTAL BUILDINGS                                13,701.                                               0.    13,701.             1,855.                351.
        FURNITURE & FIXTURES
       1FURNITURE                            010113200DB7.00   95,650.                                                      95,650.          90,930.            4,720.
       5FURNITURE                            053115200DB7.00    1,619.                                                       1,619.             463.              462.
       6FURNITURE                            070716200DB7.00      500.                                                         500.             344.               45.
       7FURNITURE                            071316200DB7.00    1,794.                                                       1,794.           1,234.              160.
        * OTHER TOTAL FURNITURE AND FIXTURES                   99,563.                                               0.     99,563.          92,971.            5,387.
        * GRAND TOTAL OTHER DEPR                              116,201.                                               0.    116,201.          96,131.            5,738.
          TOTALS FOR NEW YORK                                 116,201.                                               0.    116,201.          96,131.            5,738.
       4COMPUTER                             060114SL   3.00    1,305.                                                       1,305.           1,305.                0.
      12COMPUTER                             103115SL   3.00    1,632.                                                       1,632.                                 0.
        * OTHER TOTAL OTHER                                     2,937.                                               0.      2,937.            1,305.               0.
        BUILDINGS
       2LEASEHOLD IMPROVEMENTS               010113SL   39.00   5,625.                                                      5,625.             1,074.                144.
       3LEASEHOLD IMPROVEMENTS               060114SL   39.00     705.                                                        705.               108.                 18.
       8LEASEHOLD IMPROVEMENTS               010116SL   39.00   2,800.                                                      2,800.               288.                 72.
       9LEASEHOLD IMPROVEMENTS               080816SL   39.00     625.                                                        625.                55.                 16.
      10LEASEHOLD IMPROVEMENTS               090116SL   39.00   2,972.                                                      2,972.               253.                 76.
      11LEASEHOLD IMPROVEMENTS               120916SL   39.00     974.                                                        974.                77.                 25.
        * OTHER TOTAL BUILDINGS                                13,701.                                               0.    13,701.             1,855.                351.
        FURNITURE & FIXTURES
       1FURNITURE                            010113200DB7.00   95,650.                                                     95,650.           90,930.            4,720.
       5FURNITURE                            053115200DB7.00    1,619.                                                      1,619.              463.              462.
       6FURNITURE                            070716200DB7.00      500.                                                        500.              344.               45.

                                                            (D) - Asset disposed          * ITC, Section 179, Salvage, HR 3090, Commercial Revitalization Deduction, GO Zone
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   Asset                                                     Date                            Unadjusted         *           Basis For       Accumulated        Amount Of
    No.                       Description                  Acquired   Method       Life     Cost Or Basis   Reduction In   Depreciation     Depreciation      Depreciation
                                                                                                               Basis
           7FURNITURE                            071316200DB7.00                             1,794.                       1,794.              1,234.              160.
            * OTHER TOTAL FURNITURE AND FIXTURES                                            99,563.                  0. 99,563.              92,971.            5,387.
            * GRAND TOTAL OTHER DEPR                                                       116,201.                  0. 116,201.             96,131.            5,738.




                                                            (D) - Asset disposed          * ITC, Section 179, Salvage, HR 3090, Commercial Revitalization Deduction, GO Zone
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                                             BRANDED APPAREL GROUP LLC
                                             (a Delaware limited liability company)

                                         Unanimous Written Consent of the Members
                                                   in Lieu of a Meeting

                                                             October 29, 2020

                    The undersigned, being all members (the “Members”) of Branded Apparel Group LLC
             (the “Company”), do hereby consent to the following actions and adopt the following resolutions
             in accordance with Section 18-404(d) of the Limited Liability Company Act of the State of
             Delaware (the “Act”), the Company’s Amended and Restated Limited Liability Company
             Agreement (as amended, the “LLC Agreement”) and/or other organizational documents of the
             Company, and agree that said resolutions shall have the same force and effect as if duly adopted
             at a meeting of the Members held for that purpose.

                      WHEREAS, the Members have determined that it is desirable and in the best interests of
             the Company, their creditors, the Members, and other stakeholders generally that the Company
             file a petition for relief under the provisions of chapter 11 of title 11 of the United States Code (the
             “Bankruptcy Code”).

                      WHEREAS, JS Brands LLC (“JS Brands”) has provided the Company with an indication
             of interest with respect to the its proposed purchase of certain assets and assumption of certain
             liabilities from the Company (the “Acquired Assets”), and JS Brands and the Company have
             negotiated a primary asset purchase agreement (the “APA”) to govern the terms of such proposed
             purchase, subject to the receipt of a higher or otherwise better offer.

                     WHEREAS, the Members have reviewed the APA (together with each of the other
             certificates, documents, agreements, and schedules contemplated under the APA, as applicable,
             the “APA Documents”), and after due consideration and deliberation, determined that the
             transactions contemplated by the applicable APA Documents (the “APA Transactions”) are
             advisable, fair to, and in the best interests of the Company, its members, creditors and other
             stakeholders.

                     WHEREAS, the sale to JS Brands is subject to the Company filing a motion (the “Sale
             Motion”) with the Bankruptcy Court, seeking, among other things, approval of (a) an auction
             process (the “Auction”) that will govern the marketing and sale of the Acquired Assets through
             certain bidding procedures (the “Bidding Procedures”) to JS Brands, or another bidder with the
             highest or otherwise best offer (such bidder, the “Successful Bidder”) and (b) JS Brands as the
             stalking horse bidder and certain related bid protections.
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                                          Voluntary Petition Under the Provisions of
                                             Chapter 11 of the Bankruptcy Code

                    BE IT RESOLVED, that the Company is hereby authorized to file or cause to be filed a
             voluntary petition for relief under the provisions of chapter 11 of the Bankruptcy Code (the
             bankruptcy case commenced by such petition, being referred to as the “Chapter 11 Case”);

                     BE IT FURTHER RESOLVED, that the Members and other officers of the Company
             (collectively, the “Authorized Officers”) be, and each of them acting alone hereby is, authorized
             to execute and verify such petition of the Company in the name of the Company, as applicable,
             under chapter 11 of the Bankruptcy Code and to cause the same to be filed with the United States
             Bankruptcy Court for the Southern District of New York (the “Bankruptcy Court”), in such form
             and at such time as the Authorized Officer executing such petition shall determine; and

                     BE IT FURTHER RESOLVED, that the Authorized Officers be, and each of them hereby
             is, authorized to execute and file, or cause to be filed (or direct others to do so on their behalf as
             provided herein) with the Bankruptcy Court, on behalf of the Company, all petitions, affidavits,
             schedules, motions, lists, applications, pleadings, and other necessary papers or documents,
             including any amendments thereto, and, in connection therewith, to employ and retain all
             assistance by legal counsel, financial advisors, accountants, or other professionals and to take any
             and all actions that they deem necessary or proper to obtain such chapter 11 bankruptcy relief, and
             to take any necessary steps to coordinate and effectuate the Chapter 11 Case.

                                          Stalking Horse Asset Purchase Agreement

                     BE IT RESOLVED, that it is advisable, fair to, and in the best interests of the Company
             and its Members, creditors, and other stakeholders to enter into the applicable APA Transactions;

                    BE IT RESOLVED, that the form, terms and provisions of the applicable APA
             Documents, substantially in the form presented to the Members, are hereby authorized and
             approved;

                     BE IT RESOLVED, that the Company is authorized to enter into the applicable APA
             Documents with the buyer set forth therein for the sale of the Acquired Assets and to undertake
             any and all related transactions contemplated thereby, including the applicable APA Transactions,
             the Auction, and the bid protections on the terms contained therein or on such other terms and
             conditions as the Authorized Officers, or any of them, in their, his, or her sole discretion, determine
             to be necessary, appropriate or desirable.

                     BE IT RESOLVED, that the Authorized Officers of the Company be, and each of them
             acting alone hereby is, authorized, directed, and empowered in the name of, and on behalf of, the
             Company to execute, on behalf of the Company, the applicable APA Documents and to execute
             and file, on behalf of the Company, the Sale Motion with the Bankruptcy Court.




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                      BE IT RESOLVED, that the Authorized Officers of the Company be, and each of them
             acting alone hereby is, directed, and empowered in the name of, and on behalf of, the Company to
             conduct the Auction as approved by the Bankruptcy Court pursuant to the Sale Motion and Bidding
             Procedures and to negotiate, for and on behalf of the Company, such agreements, documents,
             assignments and instruments as may be necessary appropriate or desirable in connection with the
             sale to the JS or the Successful Bidder.

                     BE IT RESOLVED, that the Authorized Officers be, and each of them acting alone hereby
             is, authorized and directed, on behalf of and in the name of the Company, to employ the law firm
             of Kudman Trachten Aloe Posner LLP to represent and advise the Company in carrying out its
             duties under the Bankruptcy Code, and to take any and all actions to advance the rights and
             obligations of the Company, including filing any pleadings and conducting any potential sale
             process on behalf of the Company, in connection with the Chapter 11 Case, and the Authorized
             Officers are hereby authorized and directed to execute appropriate retention agreements, pay
             appropriate retainers prior to and immediately upon filing of the Chapter 11 Case, and cause to be
             filed an appropriate application with the Bankruptcy Court for authority to retain the services of
             Kudman Trachten Aloe Posner LLP;

                     BE IT FURTHER RESOLVED, that the Authorized Officers be, and each of them acting
             alone hereby is, authorized and directed, on behalf of and in the name of the Company, to employ
             any other professionals necessary to assist the Company in carrying out its duties under the
             Bankruptcy Code; and in connection therewith, the Authorized Officers are hereby authorized and
             directed to execute appropriate retention agreements, pay appropriate retainers prior to or
             immediately upon the filing of the Chapter 11 Case and cause to be filed appropriate applications
             with the Bankruptcy Court for authority to retain the services of any other professionals, as
             necessary.
                                                          General

                     BE IT RESOLVED, that all acts lawfully done or actions lawfully taken by any
             Authorized Officer to seek relief on behalf of the Company under chapter 11 of the Bankruptcy
             Code or in connection with the Chapter 11 Case in connection with such proceedings, or any matter
             related thereto, be, and hereby are, adopted, ratified, confirmed, and approved in all respects as the
             acts and deeds of the Company;

                     BE IT FURTHER RESOLVED, that the Authorized Officers be, and each of them acting
             alone hereby is, authorized, empowered, and directed, on behalf of and in the name of the
             Company, to cause the Company to take any action as in the judgment of such Authorized Officer
             shall be or become necessary, proper, and desirable to carry out and put into effect the purposes of
             the foregoing resolutions and the transactions contemplated by these resolutions;

                    BE IT FURTHER RESOLVED, that the Authorized Officers be, and each of them acting
             alone hereby is, authorized, empowered, and directed, on behalf of and in the name of the
             Company, to cause the Company to enter into, execute, deliver, certify, file, and/or record and
             perform such agreements, instruments, motions, affidavits, applications for approvals or ruling of
             governmental or regulatory authorities, certificates, or other documents, to incur all such fees and
             expenses and to take such other action, as in the judgment of such Authorized Officer shall be or



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             become necessary, proper and desirable to prosecute to a successful completion of the Chapter 11
             Case, and to carry out and put into effect the purposes of the foregoing resolutions and the
             transactions contemplated by these resolutions;

                     BE IT FURTHER RESOLVED, that the Authorized Officers be, and each of them acting
             alone hereby is, authorized and empowered, on behalf of and in the name of the Company, to
             amend, supplement, or otherwise modify from time to time the terms of any documents,
             certificates, instruments, agreements, or other writings referred to in the foregoing resolutions; and

                     BE IT FURTHER RESOLVED, that all acts, actions, and transactions that are consistent
             with the foregoing resolutions done in the name of and on behalf of the Company, which acts
             would have been approved by the foregoing resolutions except that such acts were taken before
             these resolutions were certified, be, and hereby are, adopted, ratified, confirmed, and approved in
             all respects as the acts and deeds of the Company.

                     The actions taken by this consent shall have the same force and effect as if taken at a
             meeting of the Members, duly called and constituted, pursuant to the LLC Agreement and Section
             18- 404 of the Act. Any facsimile or other electronic signature of the Members to these resolutions
             shall be fully effective as an original signature hereto. Upon execution of these resolutions, the
             undersigned hereby directs that these resolutions be filed in the Company’s minute book.

                   IN WITNESS WHEREOF, the undersigned have duly executed this Unanimous Written
             Consent as of the first date written above.




                                                                       Gary Jacobs




                                                                       Jason Jacobs




                                                                       Jeffrey Jacobs




                                                               4
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                         Chapter 11

BRANDED APPAREL GROUP LLC,1                                     Case No. 20-

                                    Debtor.                     (Subchapter V)


                   CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)
         Pursuant to Federal Rule of Bankruptcy Procedure 7007.1, and to enable the Judges to

evaluate possible disqualification or recusal, the undersigned proposed counsel for Branded

Apparel Group LLC (a private non-governmental party) certifies that no corporation directly or

indirectly owns 10% or more of any class of the company’s equity interests.

Dated: New York, New York
       October 29, 2020
                                             By:      /s/ David N. Saponara
                                                      Paul H. Aloe
                                                      David N. Saponara
                                                      KUDMAN TRACHTEN ALOE POSNER LLP
                                                      800 Third Avenue, 11th Floor
                                                      New York, New York 10022
                                                      Tel: (212) 868-1010
                                                      Fax: (212) 868-0013
                                                      Email: paloe@kudmanlaw.com
                                                              dsaponara@kudmanlaw.com

                                                      Proposed Counsel to the Debtor
                                                      and Debtor-in-Possession




1
 The last four digits of the Debtor’s federal tax identification number is 8524. The location of the Debtor’s service
address is: 141 West 36th Street, 10th Fl., New York, NY 10018.
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                         Chapter 11

BRANDED APPAREL GROUP LLC, 1                                    Case No. 20-

                                   Debtor.                      (Subchapter V)



                   Corporate Disclosure Statement Pursuant to Rule 1007(a)(3)

       Following is the list of the Debtor’s equity security holders which is prepared in accordance
with Rule 1007(a)(3) for filing in this Chapter 11 Case.

       Name and last known address
                                              Security Class            % Interest          Kind of Interest
       or place of business of holder
      Gary Jacobs
                                                                                              Membership
      141 West 36th Street, 10th Fl.                N/A                    34%
                                                                                               Interest
      New York, NY 10018
      Jason Jacobs
                                                                                              Membership
      141 West 36th Street, 10th Fl                 N/A                    33%
                                                                                               Interest
      New York, NY 10018
      Jeffrey Jacobs
                                                                                              Membership
      141 West 36th Street, 10th Fl.                N/A                    33%
                                                                                               Interest
      New York, NY 10018

              DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF
                        CORPORATION OR PARTNERSHIP

        I, Gary Jacobs, a member of the limited liability company named as the debtor in this
case, declare under penalty of perjury that I have read the foregoing List of Equity Security
Holders and that it is true and correct to the best of my information and belief.

Dated: October 29, 2020

                                                                                       /s/ Gary Jacobs




1
 The last four digits of the Debtor’s federal tax identification number is 8524. The location of the Debtor’s service
address is: 141 West 36th Street, 10th Fl., New York, NY 10018.
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360 Solutions Inc.
45 West 34th Street
Suite 1001
New York, NY 10001


Amethyst Suits Private Ltd.
Thippanur Road St., Pannimadai Village
Coimbatore-641017
Tamilnadu, India,


Aries Global Logistics, Inc.
365 Franklin Avenue
Franklin Square, NY 11010


Atlantic Tomorrow's Office
134 West 26th Street
New York, NY 10001


BLR Knits Pvt. Ltd.
7th Mile, Hosur Road
Near Kadlu Gate
Bangalore, India, 560068


Continental Casualty Company
333 South Wabash
Chicago, IL 60604


De Lage Landen Financial Services, Inc.
1111 Old Eagle School Road
Wayne, PA 19087


DHL Express USA Inc.
16416 Northchase Drive
Houston, TX 77060
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DiCentral Corp.
1199 Nasa Parkway, Suite 101
Houston, TX 77058


Exenta, Inc.
8 West 38th Street
New York, NY 10018


Expeditors Hawthorne
12200 Wilkie Avenue, Suite 100
Hawthorne, CA 90250


Fedex Corporate Services Inc.
C/o Taroff & Taitz, LLP
630 Johnson Avenue, Suite 105
Bohemia, NY 11716


Ford Models, Inc.
11 East 26th Street
14th Floor
New York, NY 10010


Gary Jacobs
141 West 36th Street, 10th Fl.
New York, NY 10018


GXS Inc.
29144 Network Place
Chicago, IL 60673


Hangzhou Xiaoran Import & Export Co. Ltd.
10F Ludu World Trade Center Sq.
819 Shixinzhonglu
Ziaoshan, Shangzhou, Zhejiang, China,
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Hanover Insurance Company
440 Lincoln Street
Worcester, MA 01653


Insight Partners, LLC
16 East 40th Street
Suite 804
New York, NY 10016


InterTrade Systems Inc.
c/o T65036U
P.O. Box 55811
Boston, MA 02205


Jiangsu Sainty Corp., Ltd.
3F, Building B, 21 Software Avenue
Nanjing, China


KJ Socks & Inc.
D-401, 700 Pangyo-Ro, Bundang-Gu
Seongnam-Shi, Gyeonggi-Do
Korea, Republic of South Korea, 13516


Larry Nessenson, Esq.
Jaffe & Asher LLP
600 Third Avenue
New York, NY 10016


Major Model Management Inc.
344 West 38th Street
Suite 602
New York, NY 10018


Merchant Factors Corp.
1441 Broadway, 22nd Floor
New York, NY 10018
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Montage Fulfillment, LLC
2602 East 37th Street
Los Angeles, CA 90058


Ningbo China-Base Landhau
Foreign Trade Co., Ltd.
Room 2001-2002, No. 666 Tiantong South R
Yinzhou District, Ningbo, China,


Orient International Holding Shanghai
Knitwear Imp. & Exp. Co. Ltd.
Room 306, #2 East Jingling Road
Shanghai, China,


Palomera Trucking
7319 Walnut Avenue
Paramount, CA 90723


Profits Fund Fashion Manufacturing Ltd.
23/F., Tower 1, Ever Gain Plaza
88 Container Port Road
Kwai Chung, N.T., Hong Kong,


Qima Ltd.
5/F, Dah Sing Life Building
99-105 Des Voeux Road
Central, Hong Kong,


Regentex Apparel Limited
Room 1501, No.252 Tianda Lijing Plaza
Ningbo, Zhejiang, China


Ridgewood Press
609 Franklin Turnpike
Ridgewood, NJ 07450
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S&S IP Holdings Ltd.
19/F, Lee Garden One
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Sewing Collection
3113 E. 26th Street
Los Angeles, CA 90058


Signature Bank
565 Fifth Avenue
12th Floor
New York, NY 10017


Silver Jachs Inc.
12 West 36th Street
11th Floor
New York, NY 10018


Small Business Administration
409 3rd St, SW.
Washington, DC 20416


Southwest Marine & General Ins.
150 Northwest Blvd.
Elk Grove Village, IL 60007


Supreme Showroom Inc.
C/o D. Clay Taylor, Esq.
7300 Metro Boulevard, Suite 350
Minneapolis, MN 55439
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154, 3rd Cross, 5th Main
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Bangalore, India, 560022


Trinet Group, Inc.
One Park Place
Dublin, CA 94568


Troficolor Texteis SA
Rua Da Mabor, 117
4760-813, Lousado
B.N. Famalic, Portugal,


U.S. Customs and Border Protection
1300 Pennsylvania Ave. NW
Washington, DC 20229


Uline
Attn: Accounts Receivable
P.O. Box 88741
Chicago, IL 60680
